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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 PHYLLIS CARSON; LORNE                           )
 COSMAN; WILLIAM DRAPER;                         )
 PHILLIP ERICKSON; SCOTT                         )      C.A. No. 22-208-CFC
 EVANS; TERENCE GRANER;                          )
 DONALD HARMAN; SARAH                            )
 HOUSEHOLDER; TRUDY L.                           )
 GRANER; TRUDY LETSON; SABINE                    )
 MILLER; DIANA HOBERT-POWELL;                    )
 JANET PURVIS; PATRICIA                          )
 ROBERTS; CAROLE SCHAUER;                        )
 CARA WASHINGTON; STEPHEN                        )
 KAPLITT; DEBORAH THELEN                         )
 individually and on behalf of all others        )
 similarly situated,                             )
                                                 )
                    Plaintiffs,                  )
                                                 )
           v.                                    )
                                                 )
 HP INC.,                                        )
                                                 )
                    Defendant.                   )

                   HP INC.’S CORPORATE DISCLOSURE STATEMENT

         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant HP

Inc. hereby provides the following corporate disclosure statement:

         1.        HP Inc. is a Delaware corporation.

         2.        HP Inc. has no parent corporation.

         3.        Berkshire Hathaway Inc., a publicly held corporation, owns 10% or

more of HP Inc.’s stock.



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                                           /s/ Kelly E. Farnan
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